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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                            4:08CR00242-01-WRW

JOHN PHILLIP BEALL, JR.

                  PRELIMINARY ORDER OF FORFEITURE
                       Fed.R.Crim.P. 32.2(b)


     IT IS HEREBY ORDERED THAT:

     1.   As the result of the guilty plea to Count 1 of the

Indictment, and a stipulation of defendant John Phillip Beall on

June 9, 2009, in which he agreed to the forfeiture the Government

sought pursuant to Title 21 U.S.C. § 853(p) and Title 28, U.S.C.

§ 2461(c) defendant shall forfeit to the United States:

     - A Ruger, .22 caliber pistol, serial number 11-26107,

      - A .22 caliber silencer measuring 5 ½" X 1", no serial
number, and

     - A Ruger, model security six, .357 caliber revolver, serial
number 154-29701.

     a.   All property used or intended to be used in any manner

or part to commit the commission of offenses involving Title 18

U.S.C. Sections 924(c).

     2.   The Court has determined, based on the evidence already

in the record that the following property is subject to

forfeiture pursuant to Title 21 U.S.C. § 853(p), and that the

government has established the requisite nexus between such

property and such offenses:
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     - A Ruger, .22 caliber pistol, serial number 11-26107,

     - A .22 caliber silencer measuring 5 ½" X 1", no serial
     number, and

     - A Ruger, model security six, .357 caliber revolver, serial
number 154-29701.

     3.   Upon the entry of this Order, the United States Attorney

General (or a designee) is authorized to seize the above listed

property and to conduct any discovery proper in identifying,

locating, or disposing of the property subject to forfeiture, in

accordance with Fed.R.Crim.P. 32.2(b)(3).

     4.   Upon entry of this Order, the United States Attorney

General (or a designee) is authorized to commence any applicable

proceeding to comply with statutes governing third party rights,

including giving notice of this Order.

     5.   The United States shall publish notice of the order and

its intent to dispose of the property in such a manner as the

United States Attorney General (or a designee) may direct.            The

United States may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in

the Subject Property.

     6.   Any person, other than the above named defendant,

asserting a legal interest in the Subject Property may, within

thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the Court for a hearing


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without a jury to adjudicate the validity of his alleged interest

in the Subject Property, and for an amendment of the order of

forfeiture, pursuant to Title 21 U.S.C. §853(n)(2).

     7.    Pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary

Order of Forfeiture shall become final as to the defendant at the

time of sentencing and shall be made part of the sentence and

included in the judgment.    If no third party files a timely

claim, this Order shall become the Final Order of Forfeiture, as

provided by Fed.R.Crim.P. 32.2(c)(2).

     8.    Any petition filed by a third party asserting an

interest in the Subject Property shall be signed by the

petitioner under penalty of perjury and shall set forth the

nature and extent of the petitioner’s right, title, or interest

in the Subject Property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the

Subject Property, any additional facts supporting the

petitioner’s claim and the relief sought.

     9.    After the disposition of any motion filed under

Fed.R.Crim.P. 32.2(c)(1)(A) and before a hearing on the petition,

discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

     10.    The United States shall have clear title to the Subject

Property following the Court’s disposition of all third-party


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interests, or, if none, following the expiration of the period

provided in 21 U.S.C. 853(n)(2) for the filing of third party

petitions.

     11.     The Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary, pursuant to Fed.R.Crim.P.

32.2(e).

     SO ORDERED this 24th day of June, 2009.



                                           /s/Wm. R. Wilson, Jr.
                                       UNITED STATES DISTRICT JUDGE




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